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                          IN TH E U NITED STATES D ISTR ICT C O U R T
                         FO R TH E SO UTH ERN DISTR ICT O F FLO RID A

                        CA SE N O .9:17-CV-80495-M A RRA/M A TTHEW M A N

  CON SUM ER FINA N CIA L
  PR OTECTION BUREAU
                           plalntifr,                                  FILED BY                 D.C .

  V.
                                                                             FE8 25 2219
                                                                             ANGELA E.NOBLE
                                                                            CLERK U S DIST.CI
  OCW EN FINANCIAL CORPORATION                                              s.o.o:iJ .-w.ea.
  OCWENMORTGAGESERVICING,1V .,and
  O CW EN LOAN SER VIC IN G ,LLC ,

                           D efendants.

       ORDER SETTING HEARING AND REOUIRING FURTHER CONFERM L AND
                                     FILIN G O F JO INT N O TIC E

          TH IS CA USE isbefore theCourtupon Plaintiff,Consum erFinancialProtection Bureau's

  M otiontoCompelDefendantsto UnredactCertainRemediation ReportsgDE 22711.Thismatter
  w as referred to the undersigned upon an O rder referring alldiscovery m attersto the undersigned

  for appropriate disposition. See D E 29. D efendants, O cw en Financial Corporation, O cwen

  M ortgage Servicing,lnc.,and O cw en Loan Servicing,LLC 'Shave filed a Response to the M otion

  ()
   DE 24612.Plaintifffiled itsReply (25213.Because thepartiesareunableto resolvethismatter
  w ithoutCourtintervention,itishereby O R D ER ED thata hearing on Plaintiff sM otion to Com pel

  DefendantstotoUnredactCertainRemediationReports(DE 2271shallbeheldasfollows:
                                  D A TE:         W ednesday,M arch 6,2019
                                  TIM E:          2:00 P.M .
                                  PLA CE:         U nited States D istrictCourt

  1The unredacted,sealed version ofthe M otion isdocketed atDE 232.
  2The unredacted,sealed version ofthe Response isdocketed atDE 248.
  3The unredacted, sealed version ofthe Reply is docketed atDE 254.

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                                              701 Clem atis Street
                                              W estPalm Beach,Florida
                                              Courtroom :6,Third Floor

  ln advance of the scheduled hearing,the Court directs that counsel for both Plaintiff and

  D efendants shallfurtherconfer,either in person orby telephone, in good faith and foras long as

  necessary to addresseach pending discovery dispute.Thereafter,theparties shallfile, onorbefore

  Friday,M arch 1,2019,aJointN otice advisingwhetherthediscovery disputehasbeenresolved,

  and ifnot,whatspecitk issuesremain fordetennination by the Courtand abriefrecitation ofthe

  position ofeach party on the specific dispute.

         D O N E and O R DER ED in Cham bers this           day of February,2019, at W est Palm

  B each,Palm B each C ounty in the Southern DistrictofFlorida.



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                                                             -        o
                                              W ILLIA M M A TTH E M AN
                                              UN ITED STATES M G ISTRA TE JU D GE




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